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                                                     U.S. DISTRICT COURT
                                                   DISTRICT OF MARYLAND
                                          UNITED STATES DISTRICT COURT
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      UNITED STATES OF AMERICA                               OLERK'S OFrlCC
                                                             y\T GREENiJELi
               v.                                          8Y)          Criminal No.                _
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      TIBA CONLEY                                            )
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                                          AFFIDA VIT IN SUPPORT OF
                                 CRIMINAL COMPLAINT AND ARREST WARRANT

              Joshua B. Rothman, Special Agent, Federal Bureau of Investigation (FBI), being duly

  swom, states the following:

                                                     INTRODUCTION

               I.             I am an investigative or law enforcement ofticer of the United States within the

  meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

  who is empowered by law to conduct investigations and to make arrests for om~nses enumerated

  in 18 U.S.C.         S 2516.
              2.              I have been employed by said agency for a period of eight (8) years. Your Affiant

  is currently assigned to Safe Streets Cross Border Task Force.                       Since 2008, I have received

  training and experience in interviewing and interrogation techniques, arrest procedures, search

  and seizure, narcotics. white collar crimes, search warrant applications,                     and various other

  crimes. Since June of 20 I 5, I have been assigned to work on federal narcotics investigations on

  the Washington Field Office Safe Streets Task Force, a violent crime and gang task force. I have

  received basic and advanced interview and interrogation training conducted by John Reid and

  Associates.          Advanced         Counterterrorism     Training     by the   FBI and    attended   the   Basic

  Telecommunications                Exploitation   Program from the DEA. In the course of my training and
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experience, both on the Safe Streets Task Force and my prior squad, I havc becomc familiar with

the methods and techniques associated with the distribution of narcotics, the laundering of drug

procecds, and the organization of drug conspiracies. I have actively participated in the purchase

of various controlled      substances    by using conlidential        infonnants.   I have participated     in

hundreds of hours of surveillance of drug traffickers and observed numerous "hand to hand"

transactions. In the course of conducting these investigations, I have been involved in the use of

the following investigative        techniques:   intervicwing     informants   and cooperating     witnesses;

conducting physical surveillance; conducting short-term and long-term narcotics and homicide

investigations;   consensual      monitoring and recording of both telephonic           and non-tclephonic

communications;       analyzing    telephone     pen register and caller identification       system data;

conducting    c01ll1-authorized electronic        surveillance;   conducting    court-authorized     Title III

wiretap investigations; and preparing and executing search warrants. Your Amant has received

training in drug recognition and interdiction. crimc scene investigations,             evidence collection,

interviews and interrogation. forensic statement analysis, and cellular phone I electronic media

searches.

        3.        Through instruction and participation in investigations,          I have become familiar

with the manner in which narcotics traffickers conduct their illegal business, and the mcthods.

language, and terms which are used to disguise conversations about their narcotics activities.

From experience and training I have learned that narcotics traffickers frequently use cellular

telephones to further their illegal activities by, among other things, remaining in constant or

ready communication with onc another without restricting either party to a particular location at

which they might be subject to physical surveillance by law enforcement authorities.               I also have

learned that narcotics traffickers rarely refer to heroin. cocaine. cocaine base - also known as


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crack - phencyclidine (PCP). or other illegal dnlgs expressly by name.        Instead, to conceal the

true nature of their illegal activities and to thwart detection by law enforcement,         narcotics

traffickers   routinely   refer to drugs, drug quantities,   and drug prices by using seemingly

innocuous words or phrases.       I also know that drug traflickers frequently have access to several

cellular telephones and that they periodically use newly acquired cellular telephones. all in an

effort to avoid detection and to impede law enforcement efforts. I also know that drug traflickers

communicate by use of text messaging to discuss types, quantities, prices of narcotics, as well as

to discuss meeting locations, all in an effort to elude detection and to impede the efforts of law

enforcement.

         4.      I have set forth only those facts that I believe are necessary to establish probable

cause.        have not, however, excluded any information known to me that would defeat a

determination of probable cause. The information contained in this Aflidavit is based upon my

personal knowledge, my review of documents and other evidence, and my conversations with

other law enforcement officers and other individuals.         I herein set faith the following facts

showing that there are suflicicnt grounds to believe that there is probable cause that TIBA

CONLEY committed the following federal offenses:

                 a.       Felon In Possession of a Firearm, in violation of Title 18, United States

         Code. Section 922(g)(I): and

                 b.       Possession   With Intent to Distribute   Cocaine   and Cocaine Base,     111


         violation of Title 21, United States Code, Section 841 and 846.

                                         PROBABLE      CAUSE

         5.      On April 14, 2016, the Honorable Lisa Broten, Judge of the Howard County

District Court, issued a search warrant authorizing the search of 3016 Oak Green Court,


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Apm1ment C, Ellicott City, Maryland for, among other things, controlled dangerous substances

and paraphernalia; firearms and ammunition; cellular telephones; and proceeds of the sales of

controlled dangerous substances.


       6.      On April 21, 2016, members of the Howard County Police Department executed

the search warrant at 3016 Oak Green Court, Apartment C, Ellicott City, Maryland.         Located

inside of the apartment was TIBA CONLEY, the leaseholder of the apartment.         A search of the

apartment resulted in the seizure of one SKS assault rille (serial number 604530), one ARI5 DTI

assault rille (serial number S030977), one Springfield XD45 (serial number 676779), one

Masterpiece Arms MACIO (serial number AI2487); 140 grams ofa mixture of cocaine base and

powder cocaine, in several baggies; and $9,425 in cash. Also observed during the search was a

Pyrex measuring cup with a white powdery substance, and at least two digital scales. CONLEY

was arrested by the Howard County Police Department and taken into custody.

       7.      Your Affiant is aware that the manufacturer of the MAC 10 Masterpiece Arms is

located in the State of Georgia, and the manufacturer of the ARI5 DTI assault rille is located in

the State of North Carolina; therefore, both firearms traveled in interstate commerce before being

recovered in CONLEY's apartment by law enforcement.

       10.     A review of CONLEY's criminal history reveals that CONLEY was previously

convicted in the State of Maryland of Possession with Intent to Distribute a Controlled Substance

(Cocaine Base), and is currently on probation supervision for that otTense.




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                                         CONCLUSION

        II.     Based on the aforementioned facts outlined in the Affidavit, your affiant believes

there is probable cause to believe that TIBA CONLEY committed               the following federal

offenses:

                a.     Felon In Possession of a Firearnl, in violation of Title 18, United States

        Code, Section 922(g)(1); and

                b.     Possession   With Intent to Distribute   Cocaine   and Cocaine Base,      111


       violation of Title 21, United States Code, Section 841 and 846.

       Accordingly, the undersigned requests that the Court authorize the attached complaint

and arrest warrant for TIBA CONLEY.

       I declare under the penalty of perjury that the foregoing is true and     ect to the best of

my knowledge.


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                                               Special Agent
                                               Federal Bureau of Investigation

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Subscribed and sworn before me thi~ 1st-day of April, 2016.




                                        HONORA~LIVAN
                                        UNITED STA TES MAGISTRATE JUDGE




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